Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 1 of 9

UNLTED STATES PESTRICT couRT
NORTHERN DISTRICT OF FLORLDA
TALLABASSEE, DIYESION

ERIC K. BROOKS
Plainti Fe,

Case Nos 4:44 ev 052,4-MW/MAF

WS.

OFF LCER DAMON MECCER )
Defendant, J

PLAINTIFF'S THLRD MOTION TO SUPPLEMENT

THE RECORD.

COMES Now THE PLALNT LFF Eric K. Brooks, pre $e) and moves this court ty
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Enclosures: Exhibits, 6 PP” haute The, Least.
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certify vhat rhe Farag cing Mobon containe 86 words pursuant hh NG. Local Rule? 4

Eris Ky Broa Ks, plo nh FF

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Supplement the Record +0 DeFendoants counsel Hannah D, Montees 79005, Adams St. & St. Box

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Erich Brooks »plat FF

#582154 Tamokw CL

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Daytona Beach) Florida 32424~1098
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Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 2 of 9

PlointifPs Exhibits AB, and ©

Plaintiffs Exhibry A: Tallahassee PD Incident Report Bates # AQE-A2q
Plaintr6es Exhibit B: Florida Uniform Traffic Citation Bates# 55
Plas offs Exhibit C: TPD Property and Evidence Receipt Bates #220
Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 3of9 -

Tallahassee Police Department

Incident.

Incident Report ‘

Report: 11/12/2016 16:21
Case Number: 00-16-037025

 

Date Of Report:
41/12/2046 16:21

Case Number:
00-16-037025

 

Occured To:
41/12/2016 16:16

Occured On From:
19/12/2016 16:16 |

Report Type:
Original - Arrest Affidavit

 

incldent Type:
Criminal Offense

 

Department Case
Status:
Closed - Cleared By Arrest

Case Status Date:

 

 

Cleared:

 

Business Name:
2516 Golf Terrace Tallahassee Florida

 

 

 

Day of Ocurrence: Saturday

Dispatched: 11/12/2016 15:16

Received: 11/12/2016 15:16

Arrived: 11/12/2016 15:16

Reported Via 911 Yes No; No

Was Evidence Collected: Yes

Evidence Collected From: Person(s)
Photos Videos Taken: Yes - in Car Camera

Offense 1 - original Offense

Digitai cam and Vehicle Video Number: 100711

Photos Video Taken by: Ofc D Miller

Specific Location Type: Street/Road/Highway/interstate

Hate Crime UCR: No

Confidentiality Req: No werd

Juvenile invoived: No
District Zone: Charlie-4A

 

Florida Statute:
322.03(1) Operate Motor Vehicle
WO Valid License

Local Ordinance:

 

 

Lighting Conditions:
Daylight

 

 

Disposition Date:
1412/2016

 

 

Offense information

Attempted/Commited: Committed
Premise Type: Residentiat

Number Of Premises: 01

Entry Type: Not Applicable

Suspect Cheracteristics: Drug Activity

Roles

Person Name: Eric K Brooks
Type: Arrestee

Offense 2 - original offense

Occupancy Code: Not Applicable

Offense Statue: Cleared By Arrest - Adult
Exceptional Clearance: Arrested On Primary Offense
Number Of People Arrested: 01

Primary Role; Yes

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Florida Statute: . . . ;
893.13(6A) Drugs/Narcotics- Local Ordinance: Devine Conditions: een Date:
Possess Cocaine
porting Officer: Jepartment: eport Status: =
AMON MILLER 375 97017 ‘allahassee Police Department pproved a
[Supervising Officer: patetine: é
, R
Verifying Officer: - Department: Date/Time:
iW BUTLER 21298291-° -- Tallahassee Police Department 13/12/2016 17:00
. Page | of 4
Response to Request for Production COT-000226
Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 4 of 9

Tallahassee Police Department Report: 11/12/2016 16:21

Offense Information
Attempted/Commited: Committed
Premise Typs: Residential
Number Of Premises: 01
Entry Type: Not Applicable
Suspect Characteristics: Drug Activity

Roles

Person Name: Eric K Brooks
Type: Arrestee

_ Person 4 - Erick Brooks

Case Number: 00-16-037025
Incident Report

Occupancy Code: Not Applicable

Offense Statue: Cleared By Arrest - Adult
Exceptional Clearance: Arrested On Primary Offense
Number Of People Arrested: 01

Primary Role: Yes

 

 

 

 

 

 

 

 

 

Person Type: Home Phone: Business Phone: Mobile Phone Pager:
Arrestee
Race: Sex: DL 1D Number: DL Exp. Date:
Black Male
SSN: Birth Date: .
08/02/1973 Birth Place:
Person Address: .
3216 Jim Lee Rd Tallahassee Florida (Leon County)
Employer Information:

 

 

Person Information
Age: 43

_ Business 1 - state of Florida

SPN JIS Number: 51-98-9

 

 

 

 

 

 

 

 

 

 

 

 

Business Type: Business Phone: Address:
Victim :
rting Officer: epartment: . Report Status: =
_ |DAMON MILLER 375 97017 allahassee Police Departmen poved s
[Supervising Officer: paemine &
Verifying Officer: epartment: ate/Time: b
iW BUTLER 212 98291 allahassee Police Department 11/12/2016 17:00
" Page 2 of 4
Response to Request for Production COT-000227
Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 5 of 9

Tallahassee Police Department

Vehicle 1 - Florida kia

Incident Report

Report: 11/12/2016 16:21

Case Number: 00-16-037025

 

VIN:

 

 

 

Mode! Free Form: Vehicle Status Vehicle Disposition:

er rree Form: Left On Scene KNDJN2A29G7368695
Tag Number: Tag Expiration Date: Vehicle Type: Category:
827QHG 11/18/2017 Auto Searched

 

Business Name:

 

 

Recovery Location Buss Name:

 

 

Vehicle Information

Primary Top Color: BLACK
Vehicle Style: Hatchback 2 door
insured: No

Property 1 - Drugs/Drug Paraphernalia

Keys In Vehicle: Yes
Vehicle Locked: Unknown

Releases Authority: Reporting Officer

 

Description: Year
Cocaine

Make:

Model:

 

Category: Condition

* Evidence - HOLD

 

Serial Number:

 

Color:
WHITE

 

Stolen Location:

 

 

Recovery Location:

 

 

Property Information
UCR Type: Evidence - Hold

Document/Drugs

Drug Activity: Other - Explain in Narrative
Drug Type: Cocaine

Narrative 1 - Basic - Original Report

Insured: Evidence/Seized

Drug Quantity: 1.000 Gram (s)

 

PROBABLE CAUSE TEMPLATE - ORIGINAL REPORT

1518

DEFENDANT NAME: Eric Brooks

DOB: 8/2/73

 

TIME OF ARREST (ARRESTEE IN PHYSICAL CUSTODY):

 

orting Officer:
AMON MILLER 375 97017

epartment:
Tallahassee Police Department

Report Status:
ed

 

{Supervising Officer:

Paterine

 

 

Weritying Officer:

W BUTLER. 212 98291

epartment:
‘allahassee Police Department

ate/Time:
11/12/2016 17:00

 

 

Response to Request for Production

 

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Page 3 of 4

COT-000228
Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 6 of 9

Tallahassee Police Department Report: 11/12/2016 16:21
Case Number: 00-16-037025

Incident Report

FACTS TO SUPPORT ABOVE CHARGE(S).
While on uniformed patrol | observed Brooks driving a black KIA bearing FL tag, 827QHG and park in front of 2516 Golf Terrance.
Brooks exited the vehicle and began walking towards other pedestrians that were gathered in the area.

| also drove to the area and exited my vehicle, and had a consensual contact with Brooks. When asked for his FL DL, Brooks stated that
he did not have a valid license. Based upon this omission and observing him drive to the area, | placed Brooks under arrest for No Valid
DL. While searching his left front jacket pocket, | found a rectangular piece of crack cocaine. Brooks immediately stated that he was
unaware that it was in his pocket.

Post Miranda, that | read from a preprinted issued card, Brooks waived his rights and agreed to speak. Brooks admitted that he
received the cocaine from an unknown black male wearing a camo jacket that was previously in the area, and had never been issued a \
FL DL, which was confirmed via DAVID.

Brooks was additionally charged with Possession of Cocaine and transported to LCJ without incident.

Olc Wirght tested the suspected crack cocaine which tested presumptive positive. This affiant impounded the cocaine at TPD
headquarters.

This inferaction was captured vis MAVRIC #100711. i

PLACE AN "X" IN FRONT OF ALL THAT APPLY:

Supplemental Reports Submitted

Victim Statement Submitted

Witness Statement(s) Submitted
Suspect/Arrestee Statement Impounded

 

 

 

 

 

 

 

 

X Property Impounded
Vehicle Towed
Reporting Officer: epartment: rt Status: 2
AMON MILLER 375 97017 ; ssee Police Department _ ved a
pervising Officer: bate/Time: g
| | | | _| §
erifying Officer: Department: bate/Time:
BUTLER 212 98291 / Police Department 11/12/2016 17:00
, i. Page 4 of 4

Response to Request for Production COT-000229
Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 7of9

NE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FLORIDA UNIFORM TRAFFIC CITATION A3QI81E
County Of Corse. fj@eo C]mso.  C}one.
TAUANASSEE POUCE OEFT
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a Appi : 7
_ inthe cain designaied below the undersigned certiées that he/she has
L : grounds to believe and does believe that en: (DEFENDANT COPY)
Oay of Week Month/Day/Year Time
JURDAY 11/12/2016 03:60 PM
Name First Middle Last
ERIC c BROOKS
Street (Ff DIFFERENT THAN ONE ON DRIVER UCENSE Sc HERE >
3216 JIM LEE RD APT 1
Cty : State | Zip
TALLAHASSEE | FL 32305
Telephone 008 Race Sex Hgt
08/02973 B “ 604
Driver
License Sate | Ciass | CDL License | Yr. License Be. Camm.Mtr.Veh.
Number (2 Yes KINo 2018 (1 Yes ONo
Yr. Veh [Make Style | Color
2016 | KIA ut BLK
Veh. License # | Trailer Tag # State | Yeas tag Expires
827QHG 2017
Placarded Hazardous Material >=16 Pass. Companion Citation Nos
|___Ciyes BilNo CoYes fzINo ve No} Clyes [iiNo
Upon a Public Street or Highway or Other Location Namely
2516 GOLF TERRANCE
rt Mies PF © BF GF ane
DW UNLAWFULLY COMET THE FOLLOWING ONLY ONE OFF
(7 UnAwerul speeo MPH SPEED APPLICABLE MPH
(0) evrerétare ([] scoot zone ([] ConsTRUCTION WORKERS PRESENT }
SPEED MEASUREMENT DEVICE
(2) CARELESS DRIVING (] CHLORESTRAINT COR DRIER MCENSE
Oo VIOLATION OF TRAFFIC (DO SAFETY BELT VIOLATION (0 EXPIRED DRIVER LICENSE
oO FAWURE TO ETOP ATA [D MPROPER on UNSAFE nov Be ee) MONTHS
BD LANE OR COURSE oF DEX G MONTHS OR tess oes ee
CO] No PROOF OF INSURANCE RES TAS MORE oF vi ree
OC evonway (C] maproper Passina * “CEO
DL NO DL-NEVER HAD ONE ISSUED ~ TRe Bram
Clyes Sf1No
Di, Seized
(Yes fe] No
CO Aggressive Driving | In Violation OF State Statite | 322.08(1)
Crash Property Qamage iejury to Peres Bod: Fatal
Yes fi No Aes (J Yee Gt]No Yes EINo { Cl Yes KINo

 

 

 

 

 

 

 

ER) CRIMINAL VIOLATION COURT APPEARANCE REQUIRED AS INDICATED BELOW *
CUINFRACTION COURT APPEARANCE REQUIRED AS INDICATED BELOW
(ZI) IRRACTION WHICH DOES NOT REQUIRE APPEARANCE IN COURT A3 IS1E
Civit Penalty Is $ 0.00 Q
Court information 1:30 PM
, DATE TIME

 

COURT

 

LOCATION

 

 

Arrest Delivered To___LCd Date 44/42/2016
BOAO PROMISE TO COMPLY AND ANSWER TO THE CHARGES AND INSTRUCTIONS
SPECIRED IN THIS CITATION. STAND AY SOT CT oa IG THE CITATION MAY

Guny
WAIVER OF RIGHTS, IF YOU NEED REASONABLE FACILITY ACCOMMODATIONS TO COMPLY
WITH THIS CITATION, CONTACT THE CLERK OF THE COURT,

 

~ ”

376 376 PATROL

Badge No, IDNo.  TroopUunit
Bi centnY Tins CITATION WAS DELIVERED TO THE PERSON CITED ABOVE

 

Response to Request for Production

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COT-000055
 

Case 4:19-cv-00524-MW-MAF Document 44 Filed 06/10/20 Page 8 of 9

 

Tallahassee Police Department 1. Case Number
Property & Evidence Receipt ofol- {f

ype of Crime or 3.

3 G2 lo Sa7

 

INCIDENT

6. Person Type Codes: V = Victin O= Owner R = Reporting Person P = Discovering Person S=Suspect_A = Arrested Person (Note all that apply)
Coan] 7. Name (Last, First Middle) Race}?.Seat 10,D.0.B, | 11, Address (Include City, State, and ZIP Code) | 12. Home Phone 13. Work Phone

A. Ex b eh

14. Item 15. Quantity 16. property ~ circumstances - 17, P&E

material, rade or manufacture name, size, color, condition, marks, etc.

/ 4.

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1 by
OD Yes es CINo D Yes

Signature of person from (if present): 23. Supervisor's Signature: 26. Processed by/Date

Officer and ID Number: 25. Verifying Signature (required for cash)

Wr 3 7 ~ Received by: In person: 2

After-hours Storage: QO
Other:

In person: O
After-hours Storage: []
Other:

‘CHAIN OF CUSTODY
a
3

In person: [)
After-hours Storage:
Other:

PD139 (Revised May 2016) ORIGINAL - RECORDS MANAGEMENT

 

Response to Request for Production | COT-000230

 
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| Beach, florid

| Day7ona Coe

 

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